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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SHIVA STEIN ,                                              :
                                                            :
                   Plaintiff,                               :   Civil Action No. ______________
                                                            :
 v.                                                         :
                                                            :   COMPLAINT FOR VIOLATIONS OF
 WADDELL & REED FINANCIAL, INC.,                            :   SECTIONS 14(a) AND 20(a) OF THE
 THOMAS C. GODLASKY, KATHIE J.                              :   SECURITIES EXCHANGE ACT OF
 ANDRADE, SHARILYN S. GASAWAY,                              :   1934
 JAMES A. JESSEE, KATHRINE M.A.                             :
 KLINE, DENNIS E. LOGUE, MICHAEL F.                         :   JURY TRIAL DEMANDED
 MORRISSEY, PHILIP J. SANDERS, AND                          :
 JERRY W. WALTON,                                           :
                                                            :
                   Defendants.
 --------------------------------------------------------


        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against Waddell & Reed Financial, Inc.

(“Waddell & Reed or the “Company”) and the members Waddell & Reed board of directors (the

“Board” or the “Individual Defendants” and collectively with the Company, the “Defendants”) for

their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), in connection with the proposed acquisition of Waddell & Reed by Macquarie Management

Holdings, Inc. (“Macquarie”) and its affiliates.

        2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement on Schedule 14A
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(the “Proxy Statement”) to be filed on January 22, 2021 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to Company stockholders.                  The Proxy

Statement recommends that Company stockholders vote in favor of a proposed transaction

whereby Merry Merger Sub, Inc. (“Merger Sub”), a wholly-owned subsidiary of Macquarie, will

merge with and into Waddell & Reed with Waddell & Reed surviving the merger and becoming a

wholly owned subsidiary of Macquarie (the “Proposed Transaction”). Pursuant to the terms of the

definitive agreement and plan of merger the companies entered into (the “Merger Agreement”)

each Waddell & Reed common share issued and outstanding will be converted into the right to

receive $25.00 in cash (the “Merger Consideration”).

       3.       As discussed below, Defendants have asked Waddell & Reed stockholders to

support the Proposed Transaction based upon the materially incomplete and misleading

representations and information contained in the Proxy Statement, in violation of Sections 14(a)

and 20(a) of the Exchange Act. Specifically, the Proxy Statement contains materially incomplete

and misleading information concerning the Company’s financial forecasts and financial analyses

conducted by the financial advisors of the Company, J.P. Morgan Securities LLC (“J.P. Morgan”)

in support of its fairness opinion, and relied upon by the Board in recommending the Company’s

stockholders vote in favor of the Proposed Transaction.

       4.       It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

       5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Waddell & Reed stockholders or, in the event




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the Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

       6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

       7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice. The Company has hired Georgeson LLC as

its proxy solicitor, with headquarters in New York, New York. Further, the closing of the Proposed

Transaction will take place in the New York offices of Macquarie’s legal advisor, Allen & Overy

LLP.

       8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because the conduct at issue occurred in this County, and

because Defendants transact business in this District.

                                            PARTIES

       9.       Plaintiff is, and has been at all relevant times, the owner of Waddell & Reed

common stock and has held such stock since prior to the wrongs complained of herein.

       10.      Individual Defendant Thomas C. Godlasky has served as a member of the Board

since July 2010 and Chairman of the Board since April 2018.

       11.      Individual Defendant Kathie J. Andrade has served as a member of the Board since

March 2019.


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       12.      Individual Defendant Sharilyn S. Gasaway has served as a member of the Board

since July 2010.

       13.      Individual Defendant James A. Jessee has served as a member of the Board since

July 2019.

       14.      Individual Defendant Kathrine M.A. Kline has served as a member of the Board

since February 2020.

       15.      Individual Defendant Dennis E. Logue has served as a member of the Board since

January 2002.

       16.      Individual Defendant Michael F. Morrissey has served as a member of the Board

since July 2010.

       17.      Individual Defendant Philip J. Sanders has served as a member of the Board and

Chief Executive Officer since August 2016.

       18.      Individual Defendant Jerry W. Walton has served as a member of the Board and

since April 2000.

       19.      Defendant Waddell & Reed is incorporated in Delaware and maintains its principal

offices at 6300 Lamar Avenue, Overland Park, Kansas 66202. The Company’s common stock

trades on the New York Stock Exchange under the symbol “WDR.”

       20.      The defendants identified in paragraphs 10-18 are collectively referred to as the

“Individual Defendants” or the “Board.”

       21.      The defendants identified in paragraphs 10-19 are collectively referred to as the

“Defendants.”




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                              SUBSTANTIVE ALLEGATIONS

A.     The Proposed Transaction

       22.     Waddell & Reed, through its subsidiaries, provides investment management and

advisory, investment product underwriting and distribution, and shareholder services

administration to mutual funds, and institutional and separately managed accounts in the United

States. The Company acts as an investment adviser for institutional and other private investors,

and provides sub advisory services to other investment companies; and underwrites and distributes

registered open-end mutual fund portfolios. It also offers fee-based asset allocation investment

advisory products to advisors channel customers; distributes business partners' variable annuity

products, and retirement and life insurance products to advisors channel customers; and sells life

insurance and disability products underwritten by various carriers. The Company distributes

investment products through its wholesale channel comprising other broker/dealers, various

retirement platforms, and registered investment advisors, as well as through independent financial

advisors; and markets investment advisory services to institutional investors directly or through

consultants. Waddell & Reed was founded in 1937 and is based in Overland Park, Kansas.

       23.     On December 2, 2020, Waddell & Reed announced that they had entered into a

proposed transaction:

               OVERLAND PARK, Kan.--(BUSINESS WIRE)--Waddell & Reed
               Financial, Inc. (NYSE: WDR) today announced it has entered into
               a merger agreement with Macquarie Asset Management, the asset
               management division of Macquarie Group (ASX: MQG; ADR:
               MQBKY), under which Macquarie would acquire all of the
               outstanding shares of Waddell & Reed for $25.00 per share in cash
               representing total consideration of $1.7 billion.

               The transaction represents a premium of approximately 48% to the
               closing price of Waddell & Reed common stock on December 1,
               2020, the last trading day prior to the transaction announcement, and
               a premium of approximately 57% to Waddell & Reed’s volume-
               weighted average price for the last 90 trading days.


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    On completion of the transaction, Macquarie has agreed to sell
    Waddell & Reed Financial, Inc.’s wealth management platform to
    LPL Financial Holdings Inc. (Nasdaq: LPLA), a leading U.S. retail
    investment advisory firm, independent broker-dealer, and registered
    investment advisor custodian, and also enter into a long-term
    partnership with Macquarie becoming one of LPL’s top tier strategic
    asset management partners.

    As a result of the transaction, Macquarie Asset Management’s assets
    under management are expected to increase to over $465 billion,
    with the combined business becoming a top 251 actively managed,
    long-term, open-ended U.S. mutual fund manager by assets under
    management, with the scale and diversification to competitively
    position the business to maintain and extend its high standards of
    service to clients and partners.

    Through its subsidiaries, Waddell & Reed Financial, Inc. has
    provided investment management and wealth management services
    to clients throughout the U.S. since 1937. Today, investment
    products are distributed under the Ivy Investments brand, as well as
    through independent financial advisors associated with Waddell &
    Reed, Inc. As of September 30, 2020, Waddell & Reed Financial,
    Inc.’s asset management business had $68 billion of assets under
    management and its wealth management business had assets under
    administration of $63 billion.

    Philip J. Sanders, Chief Executive Officer of Waddell & Reed
    Financial, Inc., said: “Over the past few years, we have been focused
    on leveraging our strong heritage as the foundation for transforming
    our firm into a more diversified and growth-oriented financial
    services enterprise. The long-term partnership between Macquarie
    and LPL as part of this transaction accelerates that transformation
    and ultimately will benefit our clients and independent financial
    advisors while delivering significant value to our stockholders.”

    Martin Stanley, Head of Macquarie Asset Management, said: “The
    addition of Waddell & Reed Financial, Inc. and our enhanced
    partnership with LPL will significantly increase our ability to grow
    and invest in our combined business for the benefit of our clients.
    Ivy Investments’ complementary investment capabilities will
    provide diversification to Macquarie Asset Management’s
    capabilities and client base. The consideration offered reflects the
    quality of Waddell & Reed’s business and the future benefits of our
    partnership with LPL.”



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               Shawn Lytle, President of Delaware Funds by Macquarie and Head
               of Macquarie Group in the Americas, added: “This transaction is an
               important step forward in our growth strategy for Delaware Funds
               by Macquarie. The acquisition of Waddell & Reed’s asset
               management business and our partnership with LPL significantly
               strengthens our position as a top 25 U.S. actively managed, long-
               term, open-ended mutual fund manager across equities, fixed
               income and multi asset solutions.”

               Dan Arnold, President and Chief Executive Officer of LPL
               Financial, said: “Waddell & Reed advisors are highly experienced
               and well-respected throughout the industry. They are a terrific fit
               both culturally and strategically, and we welcome them to the LPL
               family. Looking ahead, we expect our capabilities and resources will
               benefit their practices and help them unlock additional value and
               growth. Additionally, we look forward to deepening our long-term
               partnership with Macquarie, which will help us preserve unique
               aspects of the Waddell & Reed advisor experience while also
               positioning us to explore additional long-term opportunities
               together.”

               The transaction has been approved by the Boards of Directors of
               Waddell & Reed Financial, Inc., Macquarie Group and LPL and is
               expected to close in the middle of 2021, subject to regulatory
               approvals, Waddell & Reed Financial, Inc. stockholder approval and
               other customary closing conditions.

               Advisors and Counsel

               J.P. Morgan Securities LLC served as lead financial advisor to
               Waddell & Reed Financial, Inc. Wells Fargo Securities, LLC also
               served as financial advisor and Norton Rose Fulbright US LLP
               served as lead counsel. RBC Capital Markets served as exclusive
               financial advisor and Allen & Overy served as lead counsel to
               Macquarie.


       24.     The Board has unanimously approved the Proposed Transaction. It is therefore

imperative that Waddell & Reed’s stockholders are provided with the material information that

has been omitted from the Proxy Statement, so that they can meaningfully assess whether or not

the Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.



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B.     The Materially Incomplete and Misleading Proxy Statement

       25.     On January 22, 2021, Waddell & Reed filed the Proxy Statement with the SEC in

connection with the Proposed Transaction. The Proxy Statement was furnished to the Company’s

stockholders and solicits the stockholders to vote in favor of the Proposed Transaction. The

Individual Defendants were obligated to carefully review the Proxy Statement before it was filed

with the SEC and disseminated to the Company’s stockholders to ensure that it did not contain any

material misrepresentations or omissions. However, the Proxy Statement misrepresents and/or

omits material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning Waddell & Reed Financial
Projections

       26.     The Proxy Statement fails to provide material information concerning financial

projections by Waddell & Reed management and relied upon by J.P. Morgan in its analysis. The

Proxy Statement discloses management-prepared financial projections for the Company which are

materially misleading. The Proxy Statement indicates that in connection with the rendering of its

fairness opinion, that the Company prepared certain non-public financial forecasts (the “Company

Projections”) and provided them to the Board and the financial advisors with forming a view about

the stand-alone valuation of the Company. Accordingly, the Proxy Statement should have, but

fails to provide, certain information in the projections that Waddell & Reed management provided

to the Board and the financial advisors. Courts have uniformly stated that “projections … are

probably among the most highly-prized disclosures by investors. Investors can come up with their

own estimates of discount rates or [] market multiples. What they cannot hope to do is replicate




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management’s inside view of the company’s prospects.” In re Netsmart Techs., Inc. S’holders

Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       27.     For the Company Projections, the Proxy Statement provides values for non-GAAP

(Generally Accepted Accounting Principles) financial metrics: EBITDA and Unlevered Free Cash

Flow, but fails to provide line items used to calculate these metrics and/or a reconciliation of these

non-GAAP metrics to their most comparable GAAP measures, in direct violation of Regulation G

and consequently Section 14(a).

       28.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       29.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the
               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other




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              non-discretionary expenditures that are not deducted from the
              measure.1

       30.    Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measure to the most comparable

GAAP measure to make the non-GAAP metrics included in the Proxy Statement not misleading.

Omissions and/or Material Misrepresentations Concerning J.P. Morgan’s Financial Analysis

       31.    With respect to J.P. Morgan’s Sum-Of-The-Parts—Public Trading Multiples

Analysis, the Proxy Statement fails to disclose the individual multiples and metrics for the

companies observed by J.P. Morgan in the analysis.

       32.    With respect to J.P. Morgan’s Sum-Of-The-Parts—Selected Transactions Analysis,

the Proxy Statement fails to disclose the individual multiples and metrics for the transactions

observed by J.P. Morgan in the analysis.

       33.    With respect to J.P. Morgan’s Sum-Of-The-Parts—Discounted Cash Flow

Analysis, the Proxy Statement also fails to disclose: (i) the projected terminal values for the

Company; (ii) the inputs and assumptions underlying the use of terminal growth rates of (0.5%) to

0.5% to the unlevered free cash flow of the Company’s asset management business and 1.5% to

2.5% to the unlevered free cash flow of the Company’s wealth management business; (iii) the

inputs and assumptions underlying the range of discount rates ranging from 9.25% to 11.25% for

the Company’s asset management business and 9.75% to 11.75% for the Company’s wealth

management business, and (iv) the Company’s estimated cash, liquid securities and total debt.




1
 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

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          34.   In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          35.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          36.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          37.   Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, financial

analysis that were prepared by J.P. Morgan and relied upon by the Board in recommending the

Company’s stockholders vote in favor of the Proposed Transaction.




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       38.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.

       39.     Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives and the Company’s

financial projections.

       40.     The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act




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          41.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          42.   The Individual Defendants acted as controlling persons of Waddell & Reed within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as directors of Waddell & Reed, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of Waddell & Reed, including

the content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

          43.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          44.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Waddell & Reed, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue

contains the unanimous recommendation of the Board to approve the Proposed Transaction. The

Individual Defendants were thus directly involved in the making of the Proxy Statement.

          45.   In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger




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Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       46.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       47.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       48.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;

       B.      Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

       C.      Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;


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          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.




 Dated: January 25, 2021                            WOLF HALDENSTEIN ADLER
                                                    FREEMAN & HERZ LLP

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